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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                               Eastern District
                                             __________ Districtofof
                                                                   Virginia
                                                                     __________


              United States of America, et al.                 )
                             Plaintiff                         )
                                v.                             )      Case No. 1:04CV1136-LMB
             Mirant Potomac River LLC, et al.                  )
                            Defendant                          )

                                                 APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         State of Maryland                                                                                             .


Date:          09/18/2023                                                                s/ Elise Balkin Ice
                                                                                         Attorney’s signature


                                                                                Elise Balkin Ice, Va. Bar No. 66518
                                                                                     Printed name and bar number
                                                                                6776 Reisterstown Road, Suite 313
                                                                                   Baltimore, Maryland, 21215


                                                                                               Address

                                                                                     elise.ice1@maryland.gov
                                                                                            E-mail address

                                                                                          (443) 531-3859
                                                                                          Telephone number

                                                                                          (410) 484-5939
                                                                                             FAX number
